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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION
                           CIVIL ACTION NO. 3:16-CV-50-GNS


 JANICE COLSTON,
 Executrix of the Estate of Tommie Haugabook,                                       Plaintiff,

 v.

 REGENCY NURSING, LLC,                                                            Defendant.

                          MEMORANDUM OPINION AND ORDER

        Defendant Regency Nursing, LLC (“Regency Nursing”) has filed a motion for entry of a

 qualified protective order permitting it to conduct ex parte communications with treating

 physicians of decedent Tommie Haugabook (“Haugabook”). (DN 27.) Regency Nursing wishes

 to contact Haugabook’s treating physicians in order to conduct informal, private interviews

 regarding the care and treatment that they provided to Haugabook. Plaintiff Janice Colston

 (“Colston”), executrix of Haugabook’s estate, did not file a response. See LR 7.1(c) (“Failure to

 timely respond to a motion may be grounds for granting the motion.”). The motion is now ripe

 for review. For the following reasons, Regency Nursing’s motion for entry of a qualified

 protective order (DN 27) is granted.

                                        BACKGROUND

        Colston filed her complaint in Jefferson (Kentucky) Circuit Court on January 4, 2016

 (DN 1-2). She alleges that while Haugabook was a resident of a facility operated or managed by

 Regency Nursing, Regency Nursing’s negligent actions led Haugabook to suffer embarrassment,

 physical injuries, and ultimately, death. (Id.) Regency Nursing removed the matter to this court

 on January 27, 2016 (DN 1). The parties engaged in discovery and some dispositive motion
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 practice. On June 27, 2017, Regency Nursing filed the motion for qualified protective order (DN

 27). As is noted above, Colston did not respond.

                                          DISCUSSION

        Rule 26(c) of the Federal Rules of Civil Procedure allows the Court to issue protective

 orders for good cause shown to protect a party or person from annoyance, embarrassment,

 oppression, or undue burden or expense, including that the disclosure or discovery not be had or

 that the disclosure or discovery be limited to certain matters. Fed. R. Civ. P. 26(c). The party

 seeking the protective order bears the burden of showing that good cause exists for the order.

 Peterson v. Outback Steakhouse, 2016 U.S. Dist. LEXIS 129596, *3 (E.D. Mich. Sept. 22, 2016)

 (citing Nix v. Sword, 11 F. App’x 498, 500 (6th Cir. 2001)).

        In this case, Regency Nursing asserts a need to speak to Haugabook’s treating physicians

 regarding her medical care and treatment. It points to Colston’s expert disclosures, in which she

 states that she will call Haugabook’s treating physicians as fact witnesses -- as opposed to

 experts pursuant to Rule 26 -- to testify regarding the care and treatment that they provided to

 Haugabook. (DN 27 at 1-2 (discussing DN 22).) Regency Nursing argues that in order to

 develop its defenses in this matter, it must have an opportunity to investigate and discover

 information as to Haugabook’s treating physicians’ potential testimony. (Id. at 2.) Regency

 Nursing contends that pursuant to the Health Information Portability and Accountability Act of

 1996 (“HIPAA”), Haugabook’s treating physicians cannot speak with Regency Nursing about

 Haugabook’s health information absent a court order. (Id.) Regency Nursing argues that under

 Kentucky law, with the issuance of such an order, it may seek to informally interview fact

 witnesses -- not compel the witnesses to speak -- in a way that comports with HIPAA and


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 protects Haugabook’s privacy interests. (Id.) It therefore asks the Court to enter a qualified

 protective order permitting its counsel to conduct ex parte interviews with Haugabook’s treating

 physicians regarding her medical care and conditions that are relevant to Colston’s claims,

 Regency Nursing’s defenses, and the treating physicians’ potential testimony. (Id.)

        A. Analysis of the Motion Through the Lens of Caldwell v. Chauvin

        In support of its motion, Regency Nursing relies heavily on a 2015 decision of the

 Supreme Court of Kentucky, Caldwell v. Chauvin, 464 S.W.3d 139 (Ky. 2015). In Caldwell, the

 Supreme Court of Kentucky upheld a decision of the trial court permitting defense counsel in a

 medical malpractice action to contact the plaintiff’s treating physicians ex parte. Id. at 143. The

 court noted that litigants have historically been permitted to conduct ex parte interviews with fact

 witnesses for several reasons, but primarily in order to investigate facts and curtail litigation

 costs by allowing litigants to assess the usefulness of a witness’s potential testimony by

 interviewing the witness before conducting a deposition. Id. at 142-43; see also Hopper v. Ruta,

 2013 Colo. Dist. LEXIS 274, *6 (Colo. Dist. June 18, 2013) (“Informal methods of discovery not

 only effectuate the goals of the discovery process but tend to reduce litigation costs and simplify

 the flow of information [. . . and p]ersonal interviews are an accepted informal method of

 discovery.”) (quoting Samms v. District Court, 908 P.2d 520, 526 (Colo. 1995) (internal citation

 omitted)). In Caldwell, as in most cases in which litigants oppose the issuance of qualified

 protective orders like the one sought by Regency Nursing, the plaintiff objected to the ex parte

 nature of the defendant’s request. Caldwell, 464 S.W.3d at 146-47 (noting that the “gravamen of

 [plaintiff’s] complaint is that through ex parte discovery -- which, by definition, takes place

 beyond the watchful eye of the court -- confidential or otherwise undiscoverable information, or


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 information protected by federal law, may be disclosed without [plaintiff’s] consent and to her

 detriment”).

            The Caldwell court concluded that HIPAA does not prohibit ex parte interviews with

 treating physicians, but it does regulate the protected information that may be disclosed in such

 interviews.        The court described the “cornerstone of HIPAA’s privacy rule” as a “broad

 prohibition on the disclosure of medical information,” and recognized that “HIPAA provides for

 mandatory disclosure of protected health information by a covered entity under only two

 circumstances: (1) upon a request by an individual for her own health information or (2) when

 requested by the Secretary of [the Department of Health and Human Services] to investigate

 HIPAA compliance.”                Id. at 149.       There are, however, many other permissible uses and

 disclosures of protected health information, as addressed in in 45 C.F.R. § 164.502(a)(1). Id.

 “Among the permissible disclosures authorized by HIPAA, is the ‘litigation exception,’ which

 permits disclosure of protected health information ‘in the course of any judicial or administrative

 proceeding’ either ‘[i]n response to an order of a court of administrative tribunal’ or ‘[i]n

 response to a subpoena, discovery request, or other lawful process,’ so long as additional

 safeguards are met.”1 Id. (quoting 45 C.F.R. § 164.512(e)(1)(i)-(ii)).


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     In full, the litigation exception provides as follows:

                      1) Permitted disclosures. A covered entity may disclose protected health
                      information in the course of any judicial or administrative proceeding:

                      (i) In response to an order of a court or administrative tribunal, provided that the
                      covered entity discloses only the protected health information expressly
                      authorized by such order; or

                      (ii) In response to a subpoena, discovery request, or other lawful process, that is
                      not accompanied by an order of a court or administrative tribunal, if:

                      (A) The covered entity receives satisfactory assurance, as described in paragraph
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          The Caldwell court reached this conclusion despite noting that “[n]oticeably absent from

 the sea of HIPAA privacy regulations is any mention of ex parte communications between

 counsel and a covered entity.” Id.; id. at 149 n.39 (citing Bayne v. Provost, 359 F. Supp. 2d 234,

 240 (N.D.N.Y. 2005) (“Absent within the four corners of the relevant rules and regulations and

 the enabling statute is any mention of the ex parte interview of a health provider, such as whether

 to prescribe or proscribe such actions . . . .”)). While HIPAA does not expressly purport to

 regulate the permissibility of informal discussions with treating physicians, “[b]ecause HIPAA,

 by its terms, applies to the oral disclosure of protected health information, it has routinely been

 held that the disclosure of protected health information in ex parte interviews falls within the

 ambit of HIPAA.” Id. at 149; id. at n.41 (citing State ex rel. Proctor v. Messina, 430 S.W.3d

 145, 150 (Mo. 2010) (en banc) (“This federal regulation’s use of the term oral communication

 clearly includes ex parte ‘oral’ communications with a physician . . . .”).

          The Caldwell court noted a divergence of opinion among state courts that have addressed

 this issue. Caldwell, 464 S.W.3d at 150. However, it reasoned that in the context of the type of

 informal discovery now sought by Regency Nursing, HIPAA’s privacy regulations should be

 viewed as “‘merely superimpos[ing] procedural prerequisites’ over informal ex parte discovery,”

 and concluded that “[i]f a party satisfies the superimposed procedural requirements by fulfilling


                   (e)(1)(iii) of this section, from the party seeking the information that reasonable
                   efforts have been made by such party to ensure that the individual who is the
                   subject of the protected health information that has been requested has been
                   given notice of the request; or

                   (B) The covered entity receives satisfactory assurance, as described in paragraph
                   (e)(1)(iv) of this section, from the party seeking the information that reasonable
                   efforts have been made by such party to secure a qualified protective order that
                   meets the requirements of paragraph (e)(1)(v) of this section.

 45 C.F.R. § 164.512(e)(1)(i)-(ii).
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 the litigation exception’s requirement, the resulting ex parte contact has been drawn well within

 ‘the course of [the] judicial . . . proceeding’ as required by HIPAA.” Id. at 151 (quoting Arons v.

 Jutkcowitz, 880 N.E.2d 831, 850 (N.Y. 2007)). After a discussion of the term “lawful process,”

 the court concluded that protected health information may only be disclosed under HIPAA’s

 litigation exception if the exception’s first prong is satisfied by order of the trial court. Id. at 152

 (“Even though we have concluded that ex parte interviews are conducted within the course of a

 judicial proceeding, they are still decidedly informal and entirely voluntary, unbefitting of the

 designation of lawful process ascribed to formal discovery tools.”). The court reasoned that this

 interpretation of the litigation exception is consistent with the role of trial courts as “gatekeepers

 of discovery.” Id. (citing Primm v. Isaac, 127 S.W.3d 630, 634 (Ky. 2004)) (parenthetical

 quotation omitted). Specifically, the Supreme Court of Kentucky requires that prior to seeking

 ex parte disclosure of protected health information, a party must first seek authorization from the

 trial court. Id.; id. at 153 (“We [] hold HIPAA’s procedural prerequisites to disclosure of

 protected health information may only be satisfied by order of a court or administrative tribunal .

 . . .”).

            The Caldwell court went on to examine Kentucky law on this issue in order to determine

 whether its interpretation of HIPAA and HIPAA’s usual preemption of state law might be

 overridden by a more stringent state privacy law. The court determined that Kentucky law did

 not compel a different conclusion, finding that Kentucky does not recognize a physician-patient

 privilege, that the American Medical Association’s Code of Medical Ethics does not have the

 force of law such that it would render ex parte contacts with physicians impermissible, and that

 Kentucky case law does not preclude litigants from conducting ex parte interviews of treating


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 physicians. Id. at 154-58. With respect to the particular situation in issue in Caldwell, the court

 declined to enter a writ that would override a trial court order that did not authorize defense

 counsel to speak to plaintiff’s treating physicians, reasoning that the injuries alleged in that case

 were too speculative to merit the extraordinary remedy of the writ. Id. at 159. However, it

 emphasized that “nothing in Kentucky law prohibits defendants from seeking ex parte contacts

 with nonexpert physicians that treated the plaintiff as if they are ordinary fact witnesses,” and

 that “[t]rial courts may satisfy HIPAA and authorize disclosure of the plaintiff’s protected health

 information in an ex parte interview by entering an order that complies with 45 C.F.R. §

 164.512(e)(1)(i).” Id. at 159-60.

        Since Caldwell was decided, courts in other jurisdictions have cited it as persuasive

 authority that HIPAA does not prohibit defendants from seeking ex parte communications with

 plaintiffs’ treating physicians. See, e.g., Caldwell v. Baptist Mem. Hosp., 2016 Tenn. App.

 LEXIS 389, *20-21 (Tenn. Ct. App. June 3, 2016) (citing Caldwell, 464 S.W.3d 148-55, for

 proposition that neither HIPAA nor Kentucky law prohibits ex parte interviews by defendants

 with plaintiffs’ treating physicians among list of other cases with similar conclusions); Ginise v.

 Benchmark Senior Living, LLC 2014 Conn. Super. LEXIS 4182, *15 n.5 (Conn. Super. Ct. Nov.

 25, 2014) (“A number of jurisdictions have recognized that HIPAA does not prohibit ex parte

 communications between counsel for defendants and a treating health care provider (especially

 in a medical malpractice context), although it may impose limitations on the scope of

 communication in the absence of an authorization.”) (citing Caldwell, 464 S.W.3d 139); see also

 1-5 Ky. Evidence Law Handbook § 5.15 (noting that a physician is “a competent witness

 concerning any and all facts he may have learned as to [the patient’s] physical condition while


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 treating him privately or while examining him as to his particular injury”) (quoting H.H.

 Waegner & Co. v. Moock, 197 S.W.2d 254, 256 (Ky. 1946); id. at n.2 (citing Caldwell, 464

 S.W.3d 139, for the propositions that “there is no patient-physician privilege in the law of

 Kentucky . . . [and] that the physician’s ability to disclose the plaintiff’s protected health

 information . . . is regulated by HIPAA, so disclosure may only be permitted by order of . . .

 court satisfying [HIPAA]”).

        B. Examination of Regency Nursing’s Proposed Qualified Protective Order

        The Court has closely reviewed the proposed qualified protective order (DN 27-1) filed

 by Regency Nursing to determine whether it is consistent with HIPAA’s privacy protections and

 the Supreme Court of Kentucky’s decision in Caldwell. The Court notes that the Caldwell court

 did not explicitly dictate the permissible scope and required level of specificity for qualified

 protective orders like the one proposed by Regency Nursing. The order set forth below closely

 tracks Regency Nursing’s proposed order; any alterations have been made by the Court in an

 effort to comply with HIPAA’s privacy protections and the Supreme Court of Kentucky’s

 guidance in Caldwell.




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                                             ORDER

         IT IS HEREBY ORDERED that Regency Nursing’s motion for entry of a qualified

 protective order (DN 27) is GRANTED. However, the Court DECLINES to enter the proposed

 order filed by Regency Nursing (DN 27-1) and instead ENTERS THE QUALIFIED

 PROTECTIVE ORDER SET FORTH BELOW.

                                    Qualified Protective Order

         Accordingly, IT IS ORDERED that counsel of record for Regency Nursing MAY

 communicate ex parte with treating physicians for decedent Haugabook regarding such aspects

 of Haugabook’s medical conditions, care, and treatment as are relevant or related to any claims

 or defenses asserted in this action.     By entry of the instant Qualified Protective Order,

 Haugabook’s treating physicians are authorized to disclose to defense counsel, verbally and in

 writing, in the course of informal, private, ex parte interviews or communications, any and all of

 Haugabook’s protected health information that is relevant or related to the claims or defenses

 asserted in this action.

         IT IS FURTHER ORDERED as follows:

         1.      Haugabook’s protected health information owned, maintained, or otherwise in the

 custody of Haugabook’s treating physicians that relates to the claims or defenses asserted in this

 action is DISCOVERABLE.

         2.      Pursuant to 45 C.F.R. § 164.512(e)(1)(i) and applicable federal and Kentucky law,

 this Court issues the instant Qualified Protective Order AUTHORIZING, but NOT

 REQUIIRNG, Haugabook’s treating physicians to disclose her protected health information in

 the course of this judicial proceeding. Such disclosure may be made through informal, private,


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  ex parte interviews or communications with defense counsel. No personal representative of

  Haugabook or legal counsel for Haugabook’s estate need be present for or participate in those

  communications.

           3.         Haugabook’s treating physicians are AUTHORIZED to meet with and/or

  communicate with defense counsel their agents without first obtaining an authorization signed by

  Haugabook’s personal representative and without first providing notice to Haugabook’s personal

  representative or plaintiff’s counsel.

           4.         The parties shall mark as “CONFIDENTIAL” all records and other information

  provided to them by Haugabook’s treating physicians and shall store all such records and

  information in a secure location.

           5.         The parties shall not use or disclose the records and other information provided to

  them by Haugabook’s treating physicians for any purpose unrelated to the instant litigation.

           6.         The parties to this action MAY negotiate additional terms to the instant Qualified

  Protective Order, including terms related to the issues set forth in paragraphs 6 and 8 of Regency

  Nursing’s proposed order (DN 27-1 at 2-3, ¶¶ 6, 8), but the Court will not impose such terms on

  the parties at this juncture.

   October 24, 2017




  cc: Counsel of record                                    Colin Lindsay, MagistrateJudge
                                                            United States District Court




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